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Allmand Law Firm, PLLC
860 Airport Freeway, Suite 401
Hurst, TX 76054



Bar Number: 24027134
Phone: (214) 265-0123

                                    IN THE UNITED STATES BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF TEXAS
                                              FORT WORTH DIVISION
In re: Lawrence Douglas Smith                     xxx-xx-7335             §          Case No:     19-40608-13
       11630 FM 1807                                                      §
                                                                                     Date:        3/12/2019
       Alvarado, TX 76009                                                 §
                                                                          §          Chapter 13
                                                                          §




                                  Debtor(s)




                                                  DEBTOR'S(S') CHAPTER 13 PLAN
                                              (CONTAINING A MOTION FOR VALUATION)

                                                            DISCLOSURES
    This Plan does not contain any Nonstandard Provisions.
    This Plan contains Nonstandard Provisions listed in Section III.
    This Plan does not limit the amount of a secured claim based on a valuation of the Collateral for the claim.
    This Plan does limit the amount of a secured claim based on a valuation of the Collateral for the claim.
This Plan does not avoid a security interest or lien.
Language in italicized type in this Plan shall be as defined in the "General Order 2017-01, Standing Order Concerning Chapter 13
Cases" and as it may be superseded or amended ("General Order"). All provisions of the General Order shall apply to this Plan
as if fully set out herein.




                                                                 Page 1
Plan Payment:     Variable                      Value of Non-exempt property per § 1325(a)(4):         $0.00
Plan Term:     60 months                        Monthly Disposable Income per § 1325(b)(2):         $0.00
Plan Base:     $72,716.00                       Monthly Disposable Income x ACP ("UCP"):          $0.00
Applicable Commitment Period: 36 months
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                                                        MOTION FOR VALUATION

Pursuant to Bankruptcy Rule 3012, for purposes of 11 U.S.C. § 506(a) and § 1325(a)(5) and for purposes of determination of the
amounts to be distributed to holders of secured claims who do not accept the Plan, Debtor(s) hereby move(s) the Court to value the
Collateral described in Section I, Part E.(1) and Part F of the Plan at the lesser of the value set forth therein or any value claimed on
the proof of claim. Any objection to valuation shall be filed at least seven (7) days prior to the date of the Trustee's pre-hearing
conference regarding Confirmation or shall be deemed waived.


                                                        SECTION I
                                    DEBTOR'S(S') CHAPTER 13 PLAN - SPECIFIC PROVISIONS
                                                   FORM REVISED 7/1/17
A.   PLAN PAYMENTS:
          Debtor(s) propose(s) to pay to the Trustee the sum of:
             $1,090.00     per month, months    1       to    1    .
             $1,214.00     per month, months    2       to   60    .

          For a total of    $72,716.00      (estimated " Base Amount ").
          First payment is due      3/14/2019       .
          The applicable commitment period ("ACP") is        36   months.
          Monthly Disposable Income ("DI") calculated by Debtor(s) per § 1325(b)(2) is:          $0.00          .
          The Unsecured Creditors' Pool ("UCP"), which is DI x ACP, as estimated by the Debtor(s), shall be no less than:
               $0.00      .

          Debtor's(s') equity in non-exempt property, as estimated by Debtor(s) per § 1325(a)(4), shall be no less than:
               $0.00          .

B. STATUTORY, ADMINISTRATIVE AND DSO CLAIMS:
     1.   CLERK'S FILING FEE: Total filing fees paid through the Plan, if any, are            $0.00           and shall be paid in full
          prior to disbursements to any other creditor.
     2.   STATUTORY TRUSTEE'S PERCENTAGE FEE(S) AND NOTICING FEES: Trustee's Percentage Fee(s) and any
          noticing fees shall be paid first out of each receipt as provided in General Order 2017-01 (as it may be superseded or
          amended) and 28 U.S.C. § 586(e)(1) and (2).

     3.   DOMESTIC SUPPORT OBLIGATIONS: The Debtor is responsible for paying any Post-petition Domestic Support
          Obligation directly to the DSO claimant. Pre-petition Domestic Support Obligations per Schedule "E/F" shall be paid in
          the following monthly payments:


                      DSO CLAIMANTS                           SCHED. AMOUNT            %        TERM (APPROXIMATE)              TREATMENT
                                                                                                 (MONTHS __ TO __)              $__ PER MO.

C. ATTORNEY FEES: To                     Allmand Law Firm, PLLC             , total:        $3,700.00     ;
      $475.00   Pre-petition;             $3,225.00     disbursed by the Trustee.




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D.(1) PRE-PETITION MORTGAGE ARREARAGE:

               MORTGAGEE                           SCHED.              DATE              %       TERM (APPROXIMATE)          TREATMENT
                                                  ARR. AMT        ARR. THROUGH                    (MONTHS __ TO __)

D.(2) CURRENT POST-PETITION MORTGAGE PAYMENTS DISBURSED BY THE TRUSTEE IN A CONDUIT CASE:

                       MORTGAGEE                                  # OF PAYMENTS            CURRENT POST-              FIRST CONDUIT
                                                                 PAID BY TRUSTEE         PETITION MORTGAGE          PAYMENT DUE DATE
                                                                                          PAYMENT AMOUNT                (MM-DD-YY)

D.(3) POST-PETITION MORTGAGE ARREARAGE:

               MORTGAGEE                           TOTAL           DUE DATE(S)           %       TERM (APPROXIMATE)          TREATMENT
                                                    AMT.           (MM-DD-YY)                     (MONTHS __ TO __)

E.(1) SECURED CREDITORS - PAID BY THE TRUSTEE:

A.
                 CREDITOR /                     SCHED. AMT.           VALUE             %        TERM (APPROXIMATE)          TREATMENT
                COLLATERAL                                                                        (MONTHS __ TO __)            Per Mo.

Northwood Land Holdings, LLC                         $7,713.61        $45,588.00       0.00%         Month(s) 1-26                     $305.68
11630 FM 1807 Alvarado, TX 76039

B.
                 CREDITOR /                     SCHED. AMT.           VALUE             %                                    TREATMENT
                COLLATERAL                                                                                                     Pro-rata
Ditech                                             $45,492.58         $24,125.07       6.00%                                          Pro-Rata
Mobile Home
Flagship Credit Acceptance                         $18,575.70         $10,925.00       6.50%                                          Pro-Rata
2013 Nissan Frontier (approx. 99,500 miles)
Northwood Land Holdings, LLC                         $8,477.15         $8,477.15       6.00%                                          Pro-Rata
11630 FM 1807 Alvarado, TX 76039

To the extent the value amount in E.(1) is less than the scheduled amount in E.(1), the creditor may object. In the event a creditor
objects to the treatment proposed in paragraph E.(1), the Debtor(s) retain(s) the right to surrender the Collateral to the creditor in
satisfaction of the creditor's claim.

E.(2) SECURED 1325(a)(9) CLAIMS PAID BY THE TRUSTEE - NO CRAM DOWN:

A.
                          CREDITOR /                              SCHED. AMT.           %        TERM (APPROXIMATE)          TREATMENT
                         COLLATERAL                                                               (MONTHS __ TO __)            Per Mo.

B.
                          CREDITOR /                              SCHED. AMT.           %                                    TREATMENT
                         COLLATERAL                                                                                            Pro-rata

The valuation of Collateral set out in E.(1) and the interest rate to be paid on the above scheduled claims in E.(1) and E.(2) will
be finally determined at confirmation. The allowed claim amount will be determined based on a timely filed proof of claim and
the Trustee's Recommendation Concerning Claims ("TRCC") or by an order on an objection to claim.

Absent any objection to the treatment described in E.(1) or E.(2), the creditor(s) listed in E.(1) and E.(2) shall be deemed to have
accepted the Plan per section 1325(a)(5)(A) of the Bankruptcy Code and to have waived its or their rights under section
1325(a)(5)(B) and (C) of the Bankruptcy Code.




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F.   SECURED CREDITORS - COLLATERAL TO BE SURRENDERED:

                            CREDITOR /                                SCHED. AMT.           VALUE                  TREATMENT
                           COLLATERAL

Upon confirmation, pursuant to 11 U.S.C. § 1322(b)(8), the surrender of the Collateral described herein will provide for the
payment of all or part of a claim against the Debtor(s) in the amount of the value given herein.

The valuation of Collateral in F will be finally determined at confirmation. The allowed claim amount will be determined based
on a timely filed proof of claim and the Trustee's Recommendation Concerning Claims ("TRCC") or by an order on an objection
to claim.

The Debtor(s) request(s) that the automatic stay be terminated as to the surrendered Collateral. If there is no objection to the
surrender, the automatic stay shall terminate and the Trustee shall cease disbursements on any secured claim which is
secured by the Surrendered Collateral, without further order of the Court, on the 7th day after the date the Plan is filed. However,
the stay shall not be terminated if the Trustee or affected secured lender files an objection in compliance with paragraph 8 of the
General Order until such objection is resolved.

Nothing in this Plan shall be deemed to abrogate any applicable non-bankruptcy statutory or contractual rights of the Debtor(s).

G. SECURED CREDITORS - PAID DIRECT BY DEBTOR:

                        CREDITOR                                                   COLLATERAL                              SCHED. AMT.

Johnson County Tax Assessor-Collector                        Mobile Home                                                           $361.93
Johnson County Tax Assessor-Collector                        11630 FM 1807 Alvarado, TX 76009                                      $674.45

H. PRIORITY CREDITORS OTHER THAN DOMESTIC SUPPORT OBLIGATIONS:

                               CREDITOR                                       SCHED. AMT.     TERM (APPROXIMATE)           TREATMENT
                                                                                               (MONTHS __ TO __)

I.   SPECIAL CLASS:

                               CREDITOR                                       SCHED. AMT.     TERM (APPROXIMATE)           TREATMENT
                                                                                               (MONTHS __ TO __)

JUSTIFICATION:



J.   UNSECURED CREDITORS:

                        CREDITOR                             SCHED. AMT.                              COMMENT
Acceptance Now                                                        $0.00
Americredit                                                           $0.00
Calvalry SPC, LLC                                                   $808.64
Carrington Mortgage Services                                          $0.00
Choice Default Group                                                  $0.00
Citimortgage, Inc.                                                    $0.00
Conn's HomePlus                                                   $1,345.00
Debbie K. Hartley, Attorney                                       $2,500.00
Ditech                                                           $21,367.51 Unsecured portion of the secured debt (Bifurcated)
Fingerhut                                                             $0.00
Flagship Credit Acceptance                                        $7,650.70 Unsecured portion of the secured debt (Bifurcated)
Kay Jewelers                                                          $0.00
Midland Credit Management                                           $765.00
Midland Funding LLC                                                 $765.00


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Phoenix Financial Services LLC                                         $150.00
Phoenix Financial Services LLC                                         $150.00
Resurgent Capital Services Inc.                                        $842.11
Santander Consumer USA                                                    $0.00
SMC/Fastpath Loans                                                     $839.00
Texas Health Resources                                                 $500.00
Wells Fargo Dealer Services                                               $0.00

TOTAL SCHEDULED UNSECURED:                                         $37,682.96
The Debtor's(s') estimated (but not guaranteed) payout to unsecured creditors based on the scheduled amount is ____________.
                                                                                                                    10%

General unsecured claims will not receive any payment until after the order approving the TRCC becomes final.
K. EXECUTORY CONTRACTS AND UNEXPIRED LEASES:

                    § 365 PARTY                        ASSUME/REJECT          CURE AMOUNT         TERM (APPROXIMATE)            TREATMENT
                                                                                                   (MONTHS __ TO __)
NPRTO Texas                                           Rejected                            $0.00

                                                        SECTION II
                                    DEBTOR'S(S') CHAPTER 13 PLAN - GENERAL PROVISIONS
                                                    FORM REVISED 7/1/17
A.   SUBMISSION OF DISPOSABLE INCOME:
Debtor(s) hereby submit(s) future earnings or other future income to the Trustee to pay the Base Amount.

B. ADMINISTRATIVE EXPENSES, DSO CLAIMS & PAYMENT OF TRUSTEE'S STATUTORY PERCENTAGE FEE(S) AND
   NOTICING FEES:

The Statutory Percentage Fees of the Trustee shall be paid in full pursuant to 11 U.S.C. §§ 105(a), 1326(b)(2), and 28 U.S.C.
§ 586(e)(1)(B). The Trustee is authorized to charge and collect Noticing Fees as indicated in Section I, Part "B" hereof.

C. ATTORNEY FEES:
Debtor's(s') Attorney Fees totaling the amount indicated in Section I, Part C, shall be disbursed by the Trustee in the amount
shown as "Disbursed By The Trustee" pursuant to this Plan and the Debtor's(s') Authorization for Adequate Protection
Disbursements ("AAPD "), if filed.

D.(1) PRE-PETITION MORTGAGE ARREARAGE:

The Pre-Petition Mortgage Arrearage shall be paid by the Trustee in the allowed pre-petition arrearage amount and at the rate of
interest indicated in Section I, Part D.(1). To the extent interest is provided, it will be calculated from the date of the Petition. The
principal balance owing upon confirmation of the Plan on the allowed pre-petition Mortgage Arrearage amount shall be reduced
by the total adequate protection less any interest (if applicable) paid to the creditor by the Trustee. Such creditors shall retain
their liens.

D.(2) CURRENT POST-PETITION MORTGAGE PAYMENTS DISBURSED BY TRUSTEE IN A CONDUIT CASE:

Current Post-Petition Mortgage Payment(s) shall be paid by the Trustee as indicated in Section I, Part D.(2), or as otherwise
provided in the General Order.

The Current Post-Petition Mortgage Payment(s) indicated in Section I, Part D.(2) reflects what the Debtor(s) believe(s) is/are the
periodic payment amounts owed to the Mortgage Lender as of the date of the filing of this Plan. Adjustment of the Plan Payment
and Base Amount shall be calculated as set out in the General Order, paragraph 15(c)(3).

Payments received by the Trustee for payment of the Debtor's Current Post-Petition Mortgage Payment(s) shall be deemed
adequate protection to the creditor.

Upon completion of the Plan, Debtor(s) shall resume making the Current Post-Petition Mortgage Payments required by their
contract on the due date following the date specified in the Trustee's records as the date through which the Trustee made the
last Current Post-Petition Mortgage Payment.




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Unless otherwise ordered by the Court, and subject to Bankruptcy Rule 3002.1(f)-(h), if a Conduit Debtor is current on his/her
Plan Payments or the payment(s) due pursuant to any wage directive, the Mortgage Lender shall be deemed current post-petition.

D.(3) POST-PETITION MORTGAGE ARREARAGE:
The Post-Petition Mortgage Arrearage shall be paid by the Trustee in the allowed amount and at the rate of interest indicated in
Section I, Part D.(3). To the extent interest is provided, it will be calculated from the date of the Petition.

Mortgage Lenders shall retain their liens.

E.(1)    SECURED CLAIMS TO BE PAID BY TRUSTEE:
The claims listed in Section I, Part E.(1) shall be paid by the Trustee as secured to the extent of the lesser of the allowed claim
amount (per a timely filed Proof of Claim not objected to by a party in interest) or the value of the Collateral as stated in the Plan.
Any amount claimed in excess of the value shall automatically be split and treated as unsecured as indicated in Section I, Part H
or J, per 11 U.S.C. § 506(a). Such creditors shall retain their liens on the Collateral described in Section I, Part E.(1) as set out in
11 U.S.C. § 1325(a)(5)(B)(I) and shall receive interest at the rate indicated from the date of confirmation or, if the value shown is
greater than the allowed claim amount, from the date of the Petition, up to the amount by which the claim is over-secured. The
principal balance owing upon confirmation of the Plan on the allowed secured claim shall be reduced by the total of adequate
protection payments less any interest (if applicable) paid to the creditor by the Trustee.

E.(2)    SECURED 1325(a)(9) CLAIMS TO BE PAID BY THE TRUSTEE--NO CRAM DOWN:
Claims in Section I, Part E.(2) are either debts incurred within 910 days of the Petition Date secured by a purchase money
security interest in a motor vehicle acquired for the personal use of the Debtor(s) or debts incurred within one year of the
Petition Date secured by any other thing of value.

The claims listed in Section I, Part E.(2) shall be paid by the Trustee as fully secured to the extent of the allowed amount (per a
timely filed Proof of Claim not objected to by a party in interest). Such creditors shall retain their liens on the Collateral described
in Section I, Part E.(2) until the earlier of the payment of the underlying debt determined under non-bankruptcy law or a discharge
under § 1328 and shall receive interest at the rate indicated from the date of confirmation. The principal balance owing upon
confirmation of the Plan on the allowed secured claim shall be reduced by the total of adequate protection payments paid to the
creditor by the Trustee.

To the extent a secured claim not provided for in Section I, Part D, E.(1) or E.(2) is allowed by the Court, Debtor(s) will pay the
claim direct per the contract or statute.

Each secured claim shall constitute a separate class.
F.   SATISFACTION OF CLAIM BY SURRENDER OF COLLATERAL:

The claims listed in Section I, Part F shall be satisfied as secured to the extent of the value of the Collateral , as stated in the
Plan , by surrender of the Collateral by the Debtor(s) on or before confirmation. Any amount claimed in excess of the value of the
Collateral , to the extent it is allowed, shall be automatically split and treated as indicated in Section I, Part H or J, per
11 U.S.C. § 506(a).
Each secured claim shall constitute a separate class.

G. DIRECT PAYMENTS BY DEBTOR(S):
Payments on all secured claims listed in Section I, Part G shall be disbursed by the Debtor(s) to the claimant in accordance with
the terms of their agreement or any applicable statute, unless otherwise provided in Section III, "Nonstandard Provisions."

No direct payment to the IRS from future income or earnings in accordance with 11 U.S.C. § 1322(a)(1) will be permitted.

Each secured claim shall constitute a separate class.

H. PRIORITY CLAIMS OTHER THAN DOMESTIC SUPPORT OBLIGATIONS:

Failure to object to confirmation of this Plan shall not be deemed acceptance of the "SCHED. AMT." shown in Section I, Part H.
The claims listed in Section I, Part H shall be paid their allowed amount by the Trustee, in full, pro-rata, as priority claims, without
interest.

I.   CLASSIFIED UNSECURED CLAIMS:
Classified unsecured claims shall be treated as allowed by the Court.




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J.   GENERAL UNSECURED CLAIMS TIMELY FILED:
All other allowed claims not otherwise provided for herein shall be designated general unsecured claims.

K. EXECUTORY CONTRACTS AND UNEXPIRED LEASES:

As provided in § 1322(b)(7) of the Bankruptcy Code, the Debtor(s) assume(s) or reject(s) the executory contracts or unexpired
leases with parties as indicated in Section I, Part K.

Assumed lease and executory contract arrearage amounts shall be disbursed by the Trustee as indicated in Section I, Part K.
L.   CLAIMS TO BE PAID:

"TERM (APPROXIMATE)" as used in this Plan states the estimated number of months from the Petition Date required to fully pay
the allowed claim. If adequate protection payments have been authorized and made, they will be applied to principal as to both
under-secured and fully secured claims and allocated between interest and principal as to over-secured claims. Payment
pursuant to this Plan will only be made on statutory, secured, administrative, priority and unsecured claims that are allowed or,
pre-confirmation, that the Debtor(s) has/have authorized in a filed Authorization for Adequate Protection Disbursements.

M. ADDITIONAL PLAN PROVISIONS:
Any additional Plan provisions shall be set out in Section III, "Nonstandard Provisions."
N. POST-PETITION NON-ESCROWED AD VALOREM (PROPERTY) TAXES AND INSURANCE:
Whether the Debtor is a Conduit Debtor or not, if the regular payment made by the Debtor to a Mortgage Lender or any other
lienholder secured by real property does not include an escrow for the payment of ad valorem (property) taxes or insurance, the
Debtor is responsible for the timely payment of post-petition taxes directly to the tax assessor and is responsible for maintaining
property insurance as required by the mortgage security agreement, paying all premiums as they become due directly to the
insurer. If the Debtor fails to make these payments, the mortgage holder may, but is not required to, pay the taxes and/or the
insurance. If the mortgage holder pays the taxes and/or insurance, the mortgage holder may file, as appropriate, a motion for
reimbursement of the amount paid as an administrative claim or a Notice of Payment Change by Mortgage Lender or a Notice of
Fees, Expenses, and Charges.

O. CLAIMS NOT FILED:
A claim not filed with the Court will not be paid by the Trustee post-confirmation regardless of its treatment in Section I or on the
AAPD.

P.   CLAIMS FOR PRE-PETITION NON-PECUNIARY PENALTIES, FINES, FORFEITURES, MULTIPLE, EXEMPLARY OR
     PUNITIVE DAMAGES:

Any unsecured claim for a non-pecuniary penalty, fine, or forfeiture, or for multiple, exemplary or punitive damages, expressly
including an IRS penalty to the date of the petition on unsecured and/or priority claims, shall be paid only a pro-rata share of any
funds remaining after all other unsecured claims, including late filed claims, have been paid in full.

Q. CLAIMS FOR POST-PETITION PENALTIES AND INTEREST:

No interest, penalty, or additional charge shall be allowed on any pre-petition claims subsequent to the filing of the petition,
unless expressly provided herein.

R. BUSINESS CASE OPERATING REPORTS:
Upon the filing of the Trustee's 11 U.S.C. § 1302(c) Business Case Report, business Debtors are no longer required to file
operating reports with the Trustee, unless the Trustee requests otherwise. The filing of the Trustee's 11 U.S.C. § 1302(c)
Business Case Report shall terminate the Trustee's duties but not the Trustee's right to investigate or monitor the Debtor's(s')
business affairs, assets or liabilities.

S.   NO TRUSTEE'S LIABILITY FOR DEBTOR'S POST-CONFIRMATION OPERATION AND BAR DATE FOR CLAIMS FOR
     PRE-CONFIRMATION OPERATIONS:

The Trustee shall not be liable for any claim arising from the post-confirmation operation of the Debtor's(s') business. Any
claims against the Trustee arising from the pre-confirmation operation of the Debtor's(s') business must be filed with the
Bankruptcy Court within sixty (60) days after entry by the Bankruptcy Court of the Order of Confirmation or be barred.




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T.   DISPOSAL OF DEBTOR'S NON-EXEMPT PROPERTY; RE-VESTING OF PROPERTY; NON-LIABILITY OF TRUSTEE FOR
     PROPERTY IN POSSESSION OF DEBTOR WHERE DEBTOR HAS EXCLUSIVE RIGHT TO USE, SELL, OR LEASE IT; AND
     TRUSTEE PAYMENTS UPON POST CONFIRMATION CONVERSION OR DISMISSAL:

Debtor(s) shall not dispose of or encumber any non-exempt property or release or settle any lawsuit or claim by Debtor(s), prior
to discharge, without consent of the Trustee or order of the Court after notice to the Trustee and all creditors.

Property of the estate shall not vest in the Debtor until such time as a discharge is granted or the Case is dismissed or closed
without discharge. Vesting shall be subject to all liens and encumbrances in existence when the Case was filed and all valid
post-petition liens, except those liens avoided by court order or extinguished by operation of law. In the event the Case is
converted to a case under chapter 7, 11, or 12 of the Bankruptcy Code, the property of the estate shall vest in accordance with
applicable law. After confirmation of the Plan, the Trustee shall have no further authority, fiduciary duty or liability regarding the
use, sale, insurance of or refinance of property of the estate except to respond to any motion for the proposed use, sale, or
refinance of such property as required by the applicable laws and/or rules. Prior to any discharge or dismissal, the Debtor(s)
must seek approval of the court to purchase, sell, or refinance real property.

Upon dismissal of the Case post confirmation, the Trustee shall disburse all funds on hand in accordance with this Plan. Upon
conversion of the Case, any balance on hand will be disbursed by the Trustee in accordance with applicable law.

U. ORDER OF PAYMENT:
Unless otherwise ordered by the court, all claims and other disbursements made by the Chapter 13 Trustee after the entry of an
order confirming the Chapter 13 Plan, whether pursuant to this Plan or a modification thereof, will be paid in the order set out
below, to the extent a creditor's claim is allowed or the disbursement is otherwise authorized. Each numbered paragraph below
is a level of payment. All disbursements which are in a specified monthly amount are referred to as "per mo." At the time of any
disbursement, if there are insufficient funds on hand to pay any per mo payment in full, claimant(s) with a higher level of payment
shall be paid any unpaid balance owed on a per mo payment plus the current per mo payment owed to that same claimant, in
full, before any disbursement to a claimant with a lower level of payment. If multiple claimants are scheduled to receive per mo
payments within the same level of payment and there are insufficient funds to make those payments in full, available funds will
be disbursed to the claimants within that level on a pro-rata basis. Claimants with a higher level of payment which are
designated as receiving pro-rata payments shall be paid, in full, before any disbursements are made to any claimant with a
lower level of payment.

1st -- Clerk's Filing Fee and Trustee's Percentage Fee(s) and Noticing Fees in B.(1) and B.(2) and per statutory provisions will
be paid in full.

2nd -- Current Post-Petition Mortgage Payments (Conduit) in D.(2) and as adjusted according to the General Order, which must
be designated to be paid per mo.

3rd -- Creditors listed in E.(1)(A) and E.(2)(A), which must be designated to be paid per mo, and Domestic Support Obligations
("DSO") in B.(3), which must be designated to be paid per mo.

4th -- Attorney Fees in C, which must be designated to be paid pro-rata.

5th -- Post-Petition Mortgage Arrearage as set out in D.(3), if designated to be paid per mo.

6th -- Post-Petition Mortgage Arrearage as set out in D.(3), if designated to be paid pro-rata.

7th -- Arrearages owed on Executory Contracts and Unexpired Leases in K, which must be designated to be paid per mo.

8th -- Any Creditors listed in D.(1), if designated to be paid per mo.

9th -- Any Creditors listed in D.(1), if designated to be paid pro-rata and/or Creditors listed in E.(1)(B) or E.(2)(B), which must be
designated to be paid pro-rata.

10th -- All amounts allowed pursuant to a Notice of Fees, Expenses and Charges, which will be paid pro-rata.
11th -- Priority Creditors Other than Domestic Support Obligations ("Priority Creditors") in H, which must be designated to be
paid pro-rata.




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12th -- Special Class in I, which must be designated to be paid per mo.

13th -- Unsecured Creditors in J, other than late filed or penalty claims, which must be designated to be paid pro-rata.

14th -- Late filed claims by Secured Creditors in D.(1), D.(2), D.(3), E.(1) and E.(2), which must be designated to be paid pro-rata,
unless other treatment is authorized by the Court.

15th -- Late filed claims for DSO or filed by Priority Creditors in B.(3) and H, which must be designated to be paid pro-rata.

16th -- Late filed claims by Unsecured Creditors in J, which must be designated to be paid pro-rata.

17th -- Unsecured claims for a non-pecuniary penalty, fine, or forfeiture, or for multiple, exemplary or punitive damages,
expressly including an IRS penalty to the date of the petition on unsecured and/or priority claims. These claims must be
designated to be paid pro-rata.


V.   POST-PETITION CLAIMS:

Claims filed under § 1305 of the Bankruptcy Code shall be paid as allowed. To the extent necessary, Debtor(s) will modify this Plan.

W. TRUSTEE'S RECOMMENDATION CONCERNING CLAIMS ("TRCC") PROCEDURE:
See the provisions of the General Order regarding this procedure.




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Debtor(s):   Lawrence Douglas Smith


                                                         SECTION III
                                                   NONSTANDARD PROVISIONS

The following nonstandard provisions, if any, constitute terms of this Plan. Any nonstandard provision placed elsewhere in the
Plan is void.
None.
I, the undersigned, hereby certify that the Plan contains no nonstandard provisions other than those set out in this final paragraph.

/s/ Weldon Reed Allmand
Weldon Reed Allmand, Debtor's(s') Attorney                                Debtor (if unrepresented by an attorney)


Debtor's(s') Chapter 13 Plan (Containing a Motion for Valuation) is respectfully submitted.

/s/ Weldon Reed Allmand                                                   24027134
Weldon Reed Allmand, Debtor's(s') Counsel                                 State Bar Number




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                                                    CERTIFICATE OF SERVICE

I, the undersigned, hereby certify that the foregoing Debtor's(s') Chapter 13 Plan (Containing a Motion for Valuation) was served on
the following entities either by Electronic Service or by First Class Mail, Postage Pre-paid on the   12th day of March, 2019        :

(List each party served, specifying the name and address of each party)


Dated:             March 12, 2019                                         /s/ Weldon Reed Allmand
                                                                          Weldon Reed Allmand, Debtor's(s') Counsel

Acceptance Now                                      Citimortgage, Inc.                                  Internal Revenue Service
0696                                                2518                                                Centralized Insolvency Operations
Attn: Officer or Managing Agent                     1000 Technology Inc.                                PO Box 21126
5501 HeadQuarters Dr.                               Ofallon, MO 63304                                   Philadelphia, PA 19114
Plano, TX 75024


Americredit                                         Conn's HomePlus                                     Johnson County Tax Assessor-
4689                                                xxxxx5630                                           Collector
P.O. Box 183853                                     Attn: Bankruptcy Dept                               xxx-xxxx-x3230
Arlington, TX 76096                                 PO Box 2358                                         Attn: Officer or Managing Agent
                                                    Beaumont, TX 77704                                  2 N. Main Street Room 215
                                                                                                        Cleburne, TX 76033

Attorney General of Texas                           Debbie K. Hartley, Attorney                         Johnson County Tax Assessor-
Bankruptcy Collection Division                      1521 N. Cooper St., Ste. 340                        Collector
PO Box 12017                                        Arlington, TX 76011                                  xxx-xxxx-x0570
Austin, TX 78711                                                                                        Attn: Officer or Managing Agent
                                                                                                        2 N. Main Street Room 215
                                                                                                        Cleburne, TX 76033

Calvalry SPC, LLC                                   Ditech                                              Kay Jewelers
9969                                                xxxx7480                                            0709
PO Box 27288                                        Attn: Bankruptcy                                    PO Box 1799
Tempe, AZ 85282                                     PO Box 0049                                         Akron, OH 44309
                                                    Palatine, IL 60055


Carrington Mortgage Services                        Fingerhut                                           Lawrence Douglas Smith
9841                                                2003                                                2121 Bearcreek Pkwy # 2231
PO BOX 3549                                         6250 Ridgewood Drive                                Euless, TX 76039
Anaheim, CA 92803                                   St. Cloud, MN 56303



Choice Default Group                                Flagship Credit Acceptance                          Midland Credit Management
304 S. Jones Blvd, Suite 1120                       xxxxxxxxxxxxx1001                                   33
Las Vegas, NV 89107                                 PO Box 965                                          PO Box 60578
                                                    Chadds Ford, PA 19317                               Los Angeles, CA 90060




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Midland Funding LLC                   Resurgent Capital Services Inc.
7746                                  9097
2365 Northside Drive ST 300           P.O. Box 10587
San Diego, CA 92108                   Greenville, SC 29603



Northwood Land Holdings, LLC          Santander Consumer USA
7040                                  1000
2028 E Ben White Blvd#240-4405        PO Box 961245
Austin, TX 78741                      Fort Worth, TX 76161



Northwood Land Holdings, LLC          SMC/Fastpath Loans
7040                                  9277
2028 E Ben White Blvd #240-4405       40 Executive Center Drive
Austin, TX 78741                      Greenville, SC 29615



NPRTO Texas                           Texas Alcoholic Beverage Comm
256 W. Data Drive                     Licences and Permits Division
Draper, UT 84020                      P.O. Box 13127
                                      Austin, TX 78711-3127



Pam Bassel                            Texas Health Resources
7001 Blvd. 26, Suite 150              9819
N. Richland Hills, TX 76180           PO BOX 248838
                                      Oklahoma City, OK 73124



Phoenix Financial Services LLC        United States Attorney - NORTH
8136                                  3rd Floor, 1100 Commerce St.
PO Box 361450                         Dallas, TX 75242
Indianapolis, IN 46236



Phoenix Financial Services LLC        US Attorney General
8137                                  US Department of Justice
PO Box 361450                         950 Pennsylvania Ave, NW
Indianapolis, IN 46236                Washington, DC 20530



Randall A. Antonson, P.C.             Wells Fargo Dealer Services
515 N. Cedar Ridge Dr. Ste. 7H        8181
Duncanville, TX 75116                 PO Box 130000
                                      Raleigh, NC 27650




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Allmand Law Firm, PLLC
860 Airport Freeway, Suite 401
Hurst, TX 76054



Bar Number: 24027134
Phone: (214) 265-0123
                                           IN THE UNITED STATES BANKRUPTCY COURT
                                                 NORTHERN DISTRICT OF TEXAS
                                                      FORT WORTH DIVISION
                                                             Revised 10/1/2016

IN RE: Lawrence Douglas Smith                      xxx-xx-7335      §      CASE NO: 19-40608-13
       11630 FM 1807                                                §
       Alvarado, TX 76009                                           §
                                                                    §
                                                                    §




                                  Debtor(s)


AUTHORIZATION FOR ADEQUATE PROTECTION DISBURSEMENTS                                                       3/12/2019
                                                                                                   DATED:________________
The undersigned Debtor(s) hereby request that payments received by the Trustee prior to confirmation be disbursed as
indicated below:

 Periodic Payment Amount                                                   Variable Plan Payments. See Monthly Schedule below.*
 Disbursements                                                                                   First (1)                 Second (2) (Other)
 Account Balance Reserve                                                                           $5.00              $5.00 carried forward
 Trustee Percentage Fee                                                                         $108.50                           See below*
 Filing Fee                                                                                        $0.00                          See below*
 Noticing Fee                                                                                     $30.45                          See below*
 Subtotal Expenses/Fees                                                                         $143.95                          See below*
 Available for payment of Adequate Protection, Attorney Fees and
 Current Post-Petition Mortgage Payments:                                                       $946.05                          See below*


CREDITORS SECURED BY VEHICLES (CAR CREDITORS):
                                                                                                              Adequate              Adequate
                                                                           Scheduled           Value of       Protection           Protection
 Name                                 Collateral                             Amount           Collateral     Percentage       Payment Amount
 Flagship Credit Acceptance           2013 Nissan Frontier (approx. 99,500 miles)
                                                                            $18,575.70       $10,925.00          1.25%                $136.56

                                    Total Adequate Protection Payments for Creditors Secured by Vehicles:                            $136.56

CURRENT POST-PETITION MORTGAGE PAYMENTS (CONDUIT):

                                                                                             Scheduled         Value of
 Name                                 Collateral                            Start Date         Amount         Collateral      Payment Amount

                                          Payments for Current Post-Petition Mortgage Payments (Conduit):                               $0.00

CREDITORS SECURED BY COLLATERAL OTHER THAN A VEHICLE:
                                                                                                              Adequate              Adequate
                                                                           Scheduled           Value of       Protection           Protection
 Name                                 Collateral                             Amount           Collateral     Percentage       Payment Amount
 Northwood Land Holdings, LLC         11630 FM 1807 Alvarado, TX 76039      $7,713.61        $45,588.00       0.67053%                $305.68


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                Total Adequate Protection Payments for Creditors Secured by Collateral other than a vehicle:                  $305.68

                                               TOTAL PRE-CONFIRMATION PAYMENTS

 First Month Disbursement (after payment of Clerk's Filing Fee, any Noticing Fee, Chapter 13 Trustee
 Percentage Fee, and retention of the Account Balance Reserve):

      Current Post-Petition Mortgage Payments (Conduit payments), per mo:                                                       $0.00
      Adequate Protection to Creditors Secured by Vehicles ("Car Creditor"), per mo:                                          $136.56
      Debtor's Attorney, per mo:                                                                                              $503.81
      Adequate Protection to Creditors Secured by other than a Vehicle, per mo:                                               $305.68

 Disbursements starting month 2 (after payment of Clerk's Filing Fee, any Noticing Fee, Chapter 13
 Trustee Percentage Fee, and retention of the Account Balance Reserve):

      Current Post-Petition Mortgage Payments (Conduit payments), per mo:                                                    $0.00
      Adequate Protection to Creditors Secured by Vehicles ("Car Creditor"), per mo:                                       $136.56
      Debtor's Attorney, per mo:                                                                       See Monthly Schedule below*
      Adequate Protection to Creditors Secured by other than a Vehicle, per mo:                                            $305.68

*Monthly Schedule

                              Account       Trustee                                     Subtotal                              Available
                   Plan       Balance    Percentage          Filing     Noticing      Expenses/                 Available            for
   Month        Payment       Reserve           Fee          Fees         Fees            Fees      Available    for APD       Attorney
      1        $1,090.00        $5.00      $108.50          $0.00        $30.45         $143.95     $946.05      $442.24      $503.81
      2        $1,214.00                   $121.40                                      $121.40    $1,092.60     $442.24      $650.36
      3        $1,214.00                   $121.40                                      $121.40    $1,092.60     $442.24      $650.36
      4        $1,214.00                   $121.40                                      $121.40    $1,092.60     $442.24      $650.36
      5        $1,214.00                   $121.40                                      $121.40    $1,092.60     $442.24      $650.36
      6        $1,214.00                   $121.40                                      $121.40    $1,092.60     $442.24      $119.75


 Order of Payment:
 Unless otherwise ordered by the court, all claims and other disbursements made by the Chapter 13 Trustee prior to entry of an
 order confirming the Chapter 13 Plan will be paid in the order set out above. All disbursements which are in a specified monthly
 amount are referred to as "per mo". At the time of any disbursement, if there are insufficient funds on hand to pay any per mo
 payment in full, claimant(s) with a higher level of payment shall be paid any unpaid balance owed on the per mo payment plus
 the current per mo payment owed to that same claimant, in full, before any disbursement to a claimant with a lower level of
 payment. Other than the Current Post-Petition Mortgage Payments, the principal balance owing upon confirmation of the Plan on
 the allowed secured claim shall be reduced by the total of adequate protection payments, less any interest (if applicable), paid to
 the creditor by the Trustee.




 DATED:________________________
         3/12/2019

 /s/ Weldon Reed Allmand
 Attorney for Debtor(s)




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